Woolrich moved for judgment, for the preceding communication and agreement reduces this to a certainty, viz., that the payment should be to the plaintiff, with whom the agreement was made. A preceding communication will take away the uncertainty of time, estate, or person. As to time, Perkins, 496; Pack, 797. Where if one binds himself that if the obligee enfeoffs him of B. acre, he will pay him £ 10. No time *Page 815 
of payment being limited, it shall be presently, after the feoffment. As toestate, in Sir Richard Pexal's case, 8 Rep., 83. One devises that such a one shall be steward of his manors, and devises him a rent of so much without saying what estate he should have in the rent, it shall be taken to be such an estate as he has in the office; which was for life. As to thething, Dyer, 42. One enfeoffs another of an acre of land, and was bound in a condition that whereas he had enfeoffed the plaintiff of this, he would warrant, without saying what. Yet it was intended to be the acre of land, about which the former communication was. As to the person, Dyer, 126; 4 E., 3, 4; Com., 108. Grant to one in the premises habend. to him and Alice Styles, in frank marriage; held good by reason of the preceding agreement. So a feoffment to I. S. and his heirs with warranty, without saying to whom the warranty shall be; held that it shall be as the preceding estate. 22 E., 4, 86; Vouch., 258, 262. And in 8 Rep., Whitlock's case, it is said that the surest reservation of a rent is to reserve it to no person, but leave it to the law. 14 H., 7. Devise that lands shall be sold to pay debts without saying by whom; held by the executors. For the communication of the debts show it. 4 E., 2; Obligation, 16; 40 E., 3, 5. One binds himself to A. and in the deed it is thus: Et, admajorem hujus rei securitatem, inveni
A. and B. fideijussores, qui se in toto et in solido obligant, without saying what he binds himself to; held well. So in 2 E., 4, 22. One covenants to deliver barley to another, and binds himself thereto, under the penalty of £ 1000, without saying to whom; it shall be intended according to the former agreement. In Comment., 140, it was ruled that an agreement shall be taken according to the intention of the parties, and no *set of words is necessary.
And of this opinion was the court, for the said reason.
Whereupon, a rule was given that the plaintiff shall have judgment,nisi, etc. Afterwards Hendley, Serj., moved against it. Sed non allocatur, and judgment was given. 3 Cr., 77; Noy, 83; Poph., 181; Antea, p. 741.